                    UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION
                    DOCKET NO.: 3:07CR79-FDW-DCK

UNITED STATES OF AMERICA      )
                              )
                              )                              ORDER
vs.                           )
                              )
                              )
RUBEN ORTIZ BARRAZA           )
Defendant                     )
_____________________________ )

       THIS MATTER IS BEFORE THE COURT upon the Motion for Change of

Venue (Document No. 165) filed by the defendant on February 19, 2008.

       The record reflects that Mr. Barraza is represented by appointed counsel, Denzil

Horace Forrester. As we have indicated before, it is the practice of this Court, when a

defendant is represented by counsel, to rule on motions filed only by counsel of record.

Therefore, if Mr. Barraza has any matters he wishes this Court to consider, they must be

submitted through his attorney.

       IT IS, THEREFORE, ORDERED that Mr. Barraza’s request for change of

venue is DENIED without prejudice to his right to re-file the motion, if appropriate,

through his attorney, Mr. Forrester.




                                       Signed: February 25, 2008




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